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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA, Hon. Susan D. Wigenton
v. Docl<et No.: Cr. 15-193 (SDW)
WILLIAM E. BARONI, JR., and BRIDGET
ANNE KELLY, ORDER SETTING SCHEDULE
FOR RE-SENTENCING OF
Defendants. DEFENDANT WILLIAM E. BARONI

 

 

THIS MATTER having come before the Court upon the application ofBlank Rome LLP
counsel for defendant William E. Baroni, Jr. (“Baroni”); and this Court having granted bail
pending appeal during Baroni’s sentencing hearings and the Third Circuit having issued its
opinion; and this Court having ordered Baroni to notify if he intended to petition the Third
Circuit for panel rehearing or rehearing en banc; and the defendant having advised the Court by
letter dated January l l, 2019 of his decision not to pursue such petition and of the status of his

remaining appellate rights; and for good cause shown:

IT IS, on this ij bld‘a,y ofJanuary, 2019, @ /[', 50 a /‘M

ORDERED that Baroni’ s re-sentencing 1s scheduled forM t>'l_@, 2019; and

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ITIS FURTHER ORDERED that S- =- . -. : ,-,`

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H** ED :TAT DIST ICTJUDGE

 

1 ay be relevant to re-sentencing;

 

 

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